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14
                          UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16

17    KATHLEEN WILLIAMS, an                   Case No.: 2:18-cv-01069-AB-JC
      individual; and MICHAEL HILL, an
18    individual                              Honorable Andre Birotte, Jr.
19                      Plaintiff,
                                              STIPULATED PROTECTIVE
20          vs.                               ORDER
21    CITY OF LONG BEACH, a municipal
      entity; LONG BEACH POLICE
22    DEPARTMENT, a municipal entity;
      Officer ROBERT J. CRUZ; Officer
23    NORMAN A. DUMAPLIN; Sergeant            Complaint Filed: February 7, 2018
      JONATHAN STEINHAUSER; LOS               Trial Date:      October 29, 2019
24    ANGELES COUNTY
      METROPOLITAN TRANSIT
25    AUTHORITY, a municipal entity; and
      DOES 1-10,
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                        Defendants.
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     [continued from first page]

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10   AUTHORITY

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                             STIPULATED PROTECTIVE ORDER
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 1   1.    A.     PURPOSES AND LIMITATIONS
 2         As the parties have represented that discovery in this action is likely to involve
 3   production of confidential, proprietary, or private information for which special
 4   protection from public disclosure and from use for any purpose other than prosecuting
 5   this litigation may be warranted, this Court enters the following Protective Order.
 6   This Order does not confer blanket protections on all disclosures or responses to
 7   discovery. The protection it affords from public disclosure and use extends only to
 8   the limited information or items that are entitled to confidential treatment under the
 9   applicable legal principles. Further, as set forth in Section 12.3, below, this Protective
10   Order does not entitle the parties to file confidential information under seal. Rather,
11   when the parties seek permission from the court to file material under seal, the parties
12   must comply with Civil Local Rule 79-5 and with any pertinent orders of the assigned
13   District Judge and Magistrate Judge.
14         B.     GOOD CAUSE STATEMENT
15         In light of the nature of the claims and allegations in this case and the parties’
16   representations that discovery in this case will involve the production of confidential
17   records, and in order to expedite the flow of information, to facilitate the prompt
18   resolution of disputes over confidentiality of discovery materials, to adequately
19   protect information the parties are entitled to keep confidential, to ensure that the
20   parties are permitted reasonable necessary uses of such material in connection with
21   this action, to address their handling of such material at the end of the litigation, and
22   to serve the ends of justice, a protective order for such information is justified in this
23   matter. The parties shall not designate any information/documents as confidential
24   without a good faith belief that such information/documents have been maintained in
25   a confidential, non-public manner, and that there is good cause or a compelling reason
26   why it should not be part of the public record of this case.
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 1   2.    DEFINITIONS
 2         2.1    Action: The instant action: Kathleen Williams and Michael Hill v. City
 3   of Long Beach et al., Case No. 2:18-cv-01069-AB-JC.
 4         2.2    Challenging Party: a Party or Non-Party that challenges the designation
 5   of information or items under this Order.
 6         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 7   how it is generated, stored or maintained) or tangible things that qualify for protection
 8   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
 9   Cause Statement.
10         2.4    “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”
11   Information or Items: extremely sensitive “CONFIDENTIAL” Information or Items,
12   the disclosure of which to another Party or Non-Party would create a substantial risk
13   of serious harm that could not be avoided by less restrictive means.
14         2.5    Counsel: Outside Counsel of Record and House Counsel (as well as their
15   support staff).
16         2.6    Designating Party: a Party or Non-Party that designates information or
17   items that it produces in disclosures or in responses to discovery as
18   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
19   ONLY.”
20         2.7    Disclosure or Discovery Material: all items or information, regardless
21   of the medium or manner in which it is generated, stored, or maintained (including,
22   among other things, testimony, transcripts, and tangible things), that are produced or
23   generated in disclosures or responses to discovery in this matter.
24         2.8    Expert: a person with specialized knowledge or experience in a matter
25   pertinent to the litigation who has been retained by a Party or its counsel to serve as
26   an expert witness or as a consultant in this Action.
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 1         2.9    House Counsel: attorneys who are employees of a party to this Action.
 2   House Counsel does not include Outside Counsel of Record or any other outside
 3   counsel.
 4         2.10 Non-Party: any natural person, partnership, corporation, association, or
 5   other legal entity not named as a Party to this action.
 6         2.11 Outside Counsel of Record: attorneys who are not employees of a party
 7   to this Action but are retained to represent or advise a party to this Action and have
 8   appeared in this Action on behalf of that party or are affiliated with a law firm which
 9   has appeared on behalf of that party, and includes support staff.
10         2.12 Party: any party to this Action, including all of its officers, directors,
11   employees, consultants, retained experts, and Outside Counsel of Record (and their
12   support staffs).
13         2.13 Producing Party: a Party or Non-Party that produces Disclosure or
14   Discovery Material in this Action.
15         2.14 Professional Vendors: persons or entities that provide litigation support
16   services (e.g., photocopying, videotaping, translating, preparing exhibits or
17   demonstrations, and organizing, storing, or retrieving data in any form or medium)
18   and their employees and subcontractors.
19         2.15 Protected Material:       any Disclosure or Discovery Material that is
20   designated    as   “CONFIDENTIAL”           or    “HIGHLY      CONFIDENTIAL          --
21   ATTORNEYS’ EYES ONLY.”
22         2.16 Receiving Party: a Party that receives Disclosure or Discovery Material
23   from a Producing Party.
24   3.    SCOPE
25         The protections conferred by this Order cover not only Protected Material (as
26   defined above), but also (1) any information copied or extracted from Protected
27   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
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 1   and (3) any testimony, conversations, or presentations by Parties or their Counsel that
 2   might reveal Protected Material, other than during a court hearing or at trial.
 3         Any use of Protected Material during a court hearing or at trial shall be
 4   governed by the orders of the presiding judge. This Order does not govern the use of
 5   Protected Material during a court hearing or at trial.
 6   4.    DURATION
 7         Even after final disposition of this litigation, the confidentiality obligations
 8   imposed by this Order shall remain in effect until a Designating Party agrees
 9   otherwise in writing or a court order otherwise directs. Final disposition shall be
10   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
11   or without prejudice; and (2) final judgment herein after the completion and
12   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
13   including the time limits for filing any motions or applications for extension of time
14   pursuant to applicable law.
15   5.    DESIGNATING PROTECTED MATERIAL
16         5.1    Exercise of Restraint and Care in Designating Material for Protection.
17         Each Party or Non-Party that designates information or items for protection
18   under this Order must take care to limit any such designation to specific material that
19   qualifies under the appropriate standards. The Designating Party must designate for
20   protection only those parts of material, documents, items, or oral or written
21   communications that qualify so that other portions of the material, documents, items,
22   or communications for which protection is not warranted are not swept unjustifiably
23   within the ambit of this Order.
24         Mass, indiscriminate, or routinized designations are prohibited. Designations
25   that are shown to be clearly unjustified or that have been made for an improper
26   purpose (e.g., to unnecessarily encumber the case development process or to impose
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 1   unnecessary expenses and burdens on other parties) may expose the Designating Party
 2   to sanctions.
 3         If it comes to a Designating Party’s attention that information or items that it
 4   designated for protection do not qualify for protection, that Designating Party must
 5   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 6         5.2       Manner and Timing of Designations. Except as otherwise provided in
 7   this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
 8   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 9   under this Order must be clearly so designated before the material is disclosed or
10   produced.
11         Designation in conformity with this Order requires:
12         (a) for information in documentary form (e.g., paper or electronic documents,
13         but excluding transcripts of depositions), that the Producing Party affix at a
14         minimum, the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
15         ATTORNEYS’ EYES ONLY” to each page that contains protected material.
16         If only a portion or portions of the material on a page qualifies for protection,
17         the Producing Party also must clearly identify the protected portion(s) (e.g., by
18         making appropriate markings in the margins).
19         A Party or Non-Party that makes original documents available for inspection
20         need not designate them for protection until after the inspecting Party has
21         indicated which documents it would like copied and produced. During the
22         inspection and before the designation, all of the material made available for
23         inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
24         identified the documents it wants copied and produced, the Producing Party
25         must determine which documents, or portions thereof, qualify for protection
26         under this Order.      Then, before producing the specified documents, the
27         Producing Party must affix the “CONFIDENTIAL”, or “HIGHLY
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 1         CONFIDENTIAL -- ATTORNEYS’ EYES ONLY” legend to each page that
 2         contains Protected Material. If only a portion or portions of the material on a
 3         page qualifies for protection, the Producing Party also must clearly identify the
 4         protected portion(s) (e.g., by making appropriate markings in the margins).
 5         (b) for testimony given in depositions that the Designating Party identifies on
 6         the record, before the close of the deposition as protected testimony.
 7         (c) for information produced in some form other than documentary and for any
 8         other tangible items, that the Producing Party affix in a prominent place on the
 9         exterior of the container or containers in which the information is stored the
10         legend     “CONFIDENTIAL”             or   “HIGHLY       CONFIDENTIAL           --
11         ATTORNEYS’ EYES ONLY.” If only a portion or portions of the information
12         warrants protection, the Producing Party, to the extent practicable, shall
13         identify the protected portion(s).
14         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
15   failure to designate qualified information or items does not, standing alone, waive the
16   Designating Party’s right to secure protection under this Order for such material.
17   Upon timely correction of a designation, the Receiving Party must make reasonable
18   efforts to assure that the material is treated in accordance with the provisions of this
19   Order.
20   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
21         6.1    Timing of Challenges.         Any Party or Non-Party may challenge a
22   designation of confidentiality at any time that is consistent with the Court’s
23   Scheduling Order.
24         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
25   resolution process under Local Rule 37-1 et seq.
26         6.3    The burden of persuasion in any such challenge proceeding shall be on
27   the Designating Party. Frivolous challenges, and those made for an improper purpose
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 1   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 2   expose the Challenging Party to sanctions. Unless the Designating Party has waived
 3   or withdrawn the confidentiality designation, all parties shall continue to afford the
 4   material in question the level of protection to which it is entitled under the Producing
 5   Party’s designation until the Court rules on the challenge.
 6   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 7         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 8   disclosed or produced by another Party or by a Non-Party in connection with this
 9   Action only for prosecuting, defending, or attempting to settle this Action. Such
10   Protected Material may be disclosed only to the categories of persons and under the
11   conditions described in this Order. When the Action has been terminated, a Receiving
12   Party must comply with the provisions of Section 13 below.
13         Protected Material must be stored and maintained by a Receiving Party at a
14   location and in a secure manner that ensures that access is limited to the persons
15   authorized under this Order.
16         7.2    Disclosure of “CONFIDENTIAL” Information or Items.                 Unless
17   otherwise ordered by the court or permitted in writing by the Designating Party, a
18   Receiving    Party    may      disclose   any   information    or    item   designated
19   “CONFIDENTIAL” only to:
20         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
21         employees of said Outside Counsel of Record to whom it is reasonably
22         necessary to disclose the information for this Action;
23         (b) the officers, directors, and employees (including House Counsel) of the
24         Receiving Party to whom disclosure is reasonably necessary for this Action;
25         (c)   Experts (as defined in this Order) of the Receiving Party to whom
26         disclosure is reasonably necessary for this Action and who have signed the
27         “Acknowledgment and Agreement to Be Bound” (Exhibit A);
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 1          (d) the court and its personnel;
 2          (e) private court reporters and their staff to whom disclosure is reasonably
 3          necessary for this Action and who have signed the “Acknowledgment and
 4          Agreement to Be Bound” (Exhibit A);
 5          (f) professional jury or trial consultants, mock jurors, and Professional Vendors
 6          to whom disclosure is reasonably necessary for this Action and who have
 7          signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 8          (g) the author or recipient of a document containing the information or a
 9          custodian or other person who otherwise possessed or knew the information;
10          (h) during their depositions, witnesses, and attorneys for witnesses, in the
11          Action to whom disclosure is reasonably necessary provided: (1) the deposing
12          party requests that the witness sign the “Acknowledgment and Agreement to
13          Be Bound” (Exhibit A); and (2) they will not be permitted to keep any
14          confidential information unless they sign the “Acknowledgment and
15          Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the
16          Designating Party or ordered by the court. Pages of transcribed deposition
17          testimony or exhibits to depositions that reveal Protected Material may be
18          separately bound by the court reporter and may not be disclosed to anyone
19          except as permitted under this Protective Order; and
20          (i) any mediator or settlement officer, and their supporting personnel, mutually
21          agreed upon by any of the parties engaged in settlement discussions.
22          7.3   Disclosure of “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
23    ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
24    writing by the Designating Party, a Receiving Party may disclose any information or
25    item designated “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY” to:
26          (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
27          employees of said Outside Counsel of Record to whom it is reasonably
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 1          necessary to disclose the information for this Action;
 2          (b)   Experts (as defined in this Order) of the Receiving Party to whom
 3          disclosure is reasonably necessary for this Action and who have signed the
 4          “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 5          (c) the court and its personnel;
 6          (d) private court reporters and their staff to whom disclosure is reasonably
 7          necessary for this Action and who have signed the “Acknowledgment and
 8          Agreement to Be Bound” (Exhibit A);
 9          (e)   professional jury or trial consultants, mock jurors, and Professional
10          Vendors to whom disclosure is reasonably necessary for this Action and who
11          have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
12          (f) the author or recipient of a document containing the information or a
13          custodian or other person who otherwise possessed or knew the information;
14          and
15          (g) any mediator or settlement officer, and their supporting personnel, mutually
16          agreed upon by any of the parties engaged in settlement discussions.
17    8.    PROTECTED           MATERIAL         SUBPOENAED            OR      ORDERED
18          PRODUCED IN OTHER LITIGATION
19          If a Party is served with a subpoena or a court order issued in other litigation
20    that compels disclosure of any information or items designated in this Action as
21    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
22    ONLY,” that Party must:
23          (a) promptly notify in writing the Designating Party. Such notification shall
24          include a copy of the subpoena or court order unless prohibited by law;
25          (b) promptly notify in writing the party who caused the subpoena or order to
26          issue in the other litigation that some or all of the material covered by the
27          subpoena or order is subject to this Protective Order. Such notification shall
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 1          include a copy of this Protective Order; and
 2          (c) cooperate with respect to all reasonable procedures sought to be pursued
 3          by the Designating Party whose Protected Material may be affected.
 4          If the Designating Party timely seeks a protective order, the Party served with
 5    the subpoena or court order shall not produce any information designated in this action
 6    as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
 7    ONLY” before a determination by the court from which the subpoena or order issued,
 8    unless the Party has obtained the Designating Party’s permission, or unless otherwise
 9    required by the law or court order. The Designating Party shall bear the burden and
10    expense of seeking protection in that court of its confidential material and nothing in
11    these provisions should be construed as authorizing or encouraging a Receiving Party
12    in this Action to disobey a lawful directive from another court.
13    9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
14          PRODUCED IN THIS LITIGATION
15          (a) The terms of this Order are applicable to information produced by a Non-
16          Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
17          CONFIDENTIAL -- ATTORNEYS’ EYES ONLY.”                         Such information
18          produced by Non-Parties in connection with this litigation is protected by the
19          remedies and relief provided by this Order. Nothing in these provisions should
20          be construed as prohibiting a Non-Party from seeking additional protections.
21          (b) In the event that a Party is required, by a valid discovery request, to produce
22          a Non-Party’s confidential information in its possession, and the Party is
23          subject to an agreement with the Non-Party not to produce the Non-Party’s
24          confidential information, then the Party shall:
25                 (1) promptly notify in writing the Requesting Party and the Non-Party
26                 that some or all of the information requested is subject to a
27                 confidentiality agreement with a Non-Party;
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 1                 (2) promptly provide the Non-Party with a copy of the Protective Order
 2                 in this Action, the relevant discovery request(s), and a reasonably
 3                 specific description of the information requested; and
 4                 (3) make the information requested available for inspection by the Non-
 5                 Party, if requested.
 6          (c) If a Non-Party represented by counsel fails to commence the process called
 7          for by Local Rules 45-1 and 37-1, et seq. within 14 days of receiving the notice
 8          and accompanying information or fails contemporaneously to notify the
 9          Receiving Party that it has done so, the Receiving Party may produce the Non-
10          Party’s confidential information responsive to the discovery request. If an
11          unrepresented Non-Party fails to seek a protective order from this court within
12          14 days of receiving the notice and accompanying information, the Receiving
13          Party may produce the Non-Party’s confidential information responsive to the
14          discovery request. If the Non-Party timely seeks a protective order, the
15          Receiving Party shall not produce any information in its possession or control
16          that is subject to the confidentiality agreement with the Non-Party before a
17          determination by the court unless otherwise required by the law or court order.
18          Absent a court order to the contrary, the Non-Party shall bear the burden and
19          expense of seeking protection in this court of its Protected Material.
20    10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
21          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
22    Protected Material to any person or in any circumstance not authorized under this
23    Protective Order, the Receiving Party must immediately (a) notify in writing the
24    Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
25    all unauthorized copies of the Protected Material, (c) inform the person or persons to
26    whom unauthorized disclosures were made of all the terms of this Order, and (d)
27    request such person or persons to execute the “Acknowledgment and Agreement to
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 1    Be Bound” (Exhibit A).
 2    11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 3          PROTECTED MATERIAL
 4          When a Producing Party gives notice to Receiving Parties that certain
 5    inadvertently produced material is subject to a claim of privilege or other protection,
 6    the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 7    Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 8    may be established in an e-discovery order that provides for production without prior
 9    privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
10    parties reach an agreement on the effect of disclosure of a communication or
11    information covered by the attorney-client privilege or work product protection, the
12    parties may incorporate their agreement into this Protective Order.
13    12.   MISCELLANEOUS
14          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
15    person to seek its modification by the Court in the future.
16          12.2 Right to Assert Other Objections. No Party waives any right it otherwise
17    would have to object to disclosing or producing any information or item on any
18    ground not addressed in this Protective Order. Similarly, no Party waives any right
19    to object on any ground to use in evidence of any of the material covered by this
20    Protective Order.
21          12.3 Filing Protected Material.       A Party that seeks to file under seal any
22    Protected Material must comply with Civil Local Rule 79-5 and with any pertinent
23    orders of the assigned District Judge and Magistrate Judge. Protected Material may
24    only be filed under seal pursuant to a court order authorizing the sealing of the specific
25    Protected Material at issue. If a Party’s request to file Protected Material under seal
26    is denied by the court, then the Receiving Party may file the information in the public
27    record unless otherwise instructed by the court.
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 1    13.   FINAL DISPOSITION
 2          After the final disposition of this Action, as defined in Section 4, within 60 days
 3    of a written request by the Designating Party, each Receiving Party must return all
 4    Protected Material to the Producing Party or destroy such material. As used in this
 5    subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 6    summaries, and any other format reproducing or capturing any of the Protected
 7    Material. Whether the Protected Material is returned or destroyed, the Receiving
 8    Party must submit a written certification to the Producing Party (and, if not the same
 9    person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
10    (by category, where appropriate) all the Protected Material that was returned or
11    destroyed and (2) affirms that the Receiving Party has not retained any copies,
12    abstracts, compilations, summaries or any other format reproducing or capturing any
13    of the Protected Material. Notwithstanding this provision, Counsel are entitled to
14    retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
15    transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
16    reports, attorney work product, and consultant and expert work product, even if such
17    materials contain Protected Material. Any such archival copies that contain or
18    constitute Protected Material remain subject to this Protective Order as set forth in
19    Section 4.
20          14.    Any violation of this Order may be punished by any and all appropriate
21    measures including, without limitation, contempt proceedings and/or monetary
22    sanctions.
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 1    DATED: March 7, 2019                 IVIE, McNEILL & WYATT

 2

 3

 4
                                           By:   /s/ Armand J. Jaafari
 5                                              ARMAND JAAFARI, ESQ.
 6                                         Attorneys for Defendants,
                                           LOS ANGELES COUNTY
 7                                         METROPOLITAN TRANSIT
                                           AUTHORITY
 8
      DATED: March 7, 2019                 LAW OFFICE OF SHIRIN BUCKMAN
 9

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11
                                           By:
12                                              SHIRIN BUCKMAN
13                                              ALANA YAKOVLEV
                                                LISA HOLDER
14                                         Attorneys for Plaintiffs,
                                           KATHLEEN WILLIAMS and MICHAEL
15                                         HILL
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17
      FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
18

19                                                      /s/
               March 8, 2019
      DATED: __________________             _________________________
20                                          Honorable Jacqueline Chooljian
                                            United States Magistrate Judge
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                            STIPULATED PROTECTIVE ORDER
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 1                                         EXHIBIT A
 2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3          I, _____________________________ [print or type full name], of
 4    _________________ [print or type full address], declare under penalty of perjury that
 5    I have read in its entirety and understand the Protective Order that was issued by the
 6    United States District Court for the Central District of California on
 7      March 8, 2019
      _________________________ in the case of Kathleen Williams and William Hall v.
 8    City of Long Beach, et al., Case No. 2:18-cv-01069-AB-JC. I agree to comply with
 9    and to be bound by all the terms of this Protective Order and I understand and
10    acknowledge that failure to so comply could expose me to sanctions and punishment
11    in the nature of contempt. I solemnly promise that I will not disclose in any manner
12    any information or item that is subject to this Protective Order to any person or entity
13    except in strict compliance with the provisions of this Order.
14          I further agree to submit to the jurisdiction of the United States District Court
15    for the Central District of California for the purpose of enforcing the terms of this
16    Protective Order, even if such enforcement proceedings occur after termination of this
17    action. I hereby appoint __________________________ [print or type full name] of
18    _______________________________________ [print or type full address and
19    telephone number] as my California agent for service of process in connection with
20    this action or any proceedings related to enforcement of this Protective Order.
21
22    Date: ______________________________________
23    City and State where sworn and signed: _________________________________
24

25    Printed name: _______________________________
26

27    Signature: __________________________________
28
                                           17
                              STIPULATED PROTECTIVE ORDER
